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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 CINCINNATI DIVISION

  In Re:                                         Case No. 1:17-bk-12075

  Martino M. Wilson                              Chapter 13

  Debtor                                         Judge Beth A. Buchanan

                                 CERTIFICATE OF SERVICE

 I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
 electronically on May 27, 2021 through the Court’s ECF System on all ECF participants
 registered in this case at the e-mail address registered with the Court

 And by first class mail on May 27, 2021 addressed to:

           Martino M. Wilson, Debtor
           6517 Greentree Drive
           Cincinnati, OH 45224

                                                 Respectfully Submitted,

                                                 /s/ Jon J. Lieberman
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